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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                                )      Docket No. 1:21-cr-00025
                                                         )
                                                         )
                   v.                                    )      ELECTRONICALLY FILED
                                                         )
                                                         )
JORDEN MINK,                                             )      The Honorable Randolph D. Moss
                                                         )
                   Defendant.                            )

                  MOTION FOR LEAVE TO FILE DOCUMENTS UNDER SEAL

          AND NOW, to-wit, comes Defendant, Jorden Mink (hereinafter “Mr. Mink”), by and

through his attorney, Komron Jon Maknoon, Esquire, and respectfully files the within Motion for

Leave to File Documents Under Seal and, in support thereof, avers as follows:

          1.       Undersigned counsel intends to file a Motion for Downward Departure and/or

Variance in the above-captioned case which includes sensitive information pertaining to Mr.

Mink’s medical, psychological, and personal history.

          2.       Medical information is safeguarded and protected from disclosure by the Health

Insurance Portability and Accountability Act of 1996 (hereinafter “HIPAA”).

          3.       Sealing is necessary for Motion for Downward Departure and/or Variance due to

the nature of the included information and strict privacy and security provisions under HIPAA.

          4.       There are no means other than sealing available or satisfactory in the present

matter.

          WHEREFORE, undersigned counsel respectfully requests this Honorable Court permit

leave to file the Motion for Downward Departure and/or Variance under seal.




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                                  Respectfully submitted,


                                  s/ Komron Jon Maknoon
                                  Komron Jon Maknoon, Esquire
                                  PA I.D. NO. 90466

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                                  Attorney for Defendant, Jorden Mink




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